30 F.3d 130
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lorenzo A. SCORPIO, Plaintiff Appellant,and Thomas HICKS;  Richard T. Hayslett;  Joseph Ray Jackson;Leroy Halstead;  M. Brunton;  K. Hall;  H. Throckmorton;Perry B. Carroll;  A. Irizarry;  John Jackson;  Glen Thomas;Patrick Shaw;  Michael Hanford;  Linkous Honaker;  RexCassidy;  Barry Johnson;  M. Abbey-Bey, Plaintiffs,v.Rufus FLEMING, Warden;  A.D. Robinson, Assistant Warden,Defendants Appellees.
    No. 94-6515.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  June 23, 1994Decided:  July 26, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Rebecca B. Smith, District Judge.  (CA-93-974)
      Lorenzo A. Scorpio, Appellant Pro Se.
      E.D.Va.
      AFFIRMED.
      Before MURNAGHAN and WILKINS, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order dismissing his 42 U.S.C. Sec. 1983 (1988) complaint.  The district court assessed a filing fee in accordance with  Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and dismissed the case without prejudice when Appellant failed to comply with the fee order.  Finding no abuse of discretion, we affirm the district court's order.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    